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DAWUD BEY

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IN THE UNITED STATES DISTRICT COURT

FOR THE BASTERN DISTRICT OF PENNSYLVANIA

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UNITED STATES: OF AMERICA : CRIMINAL NO. 09-498-1

Very § ONS : Philadelphia, Pennsylvania

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MICHAEYRCUNZ, Clerk
By “Dep. Clerie

SENTENCING HEARING
BEFORE THE HONORABLE NORMA L. SHAPIRO

May 27, 2010
2:20 o'clock p.m.

SENIOR UNITED STATES DISTRICT COURT JUDGE

APPEARANCES:

For the Government: CHRISTINE E. SYKES, ESQUIRE

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(The following occurred in open court at 2:20
o'clock p.m.)

THE COURT: Good afternoon.

ALL: Good afternoon, your Honor.

THE COURT: I'm sorry to keep you waiting, but I was
trying to get some rulings from the Bureau of Prisons about
how this sentence would play out. Will you be seated,
please?

This is in the matter of the United States of
America v. Dawud Bey, and I have a presentence report and a
revised presentence report. Counsel, have you both received
all that?

MR. TROYER: Yes, your Honor.

MR. JOSEPH: Yes, your Honor.

THE COURT: And have you reviewed that with your
client?

MR. JOSEPH: I have, your Honor, and we do not
object to the revised presentence report.

THE COURT: And the Government doesn't object
either, as I understand it?

MR. TROYER: That's correct, your Honor.

THE COURT: Very well. I also received a sentencing
memorandum from the Government and one on behalf of the
Defendant. Have you each received each other's?

MR. JOSEPH: Yes, your Honor.

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MR. TROYER: Yes, your Honor.

THE COURT: Very well. Did you wish to offer any
witnesses for the Government?

MR. TROYER: No, your Honor.

THE COURT: And will you have witnesses for the
Defendant?

MR. JOSEPH: None other than the Defendant, your
Honor, Mr. Bey.

THE COURT: Very well. I know quite a few people
here. If either of you want to introduce anyone, you may do
so.

What we'll do is hear first from the Government,
then from the Defendant -- from defense counsel, then the
Defendant. If you wish to address the Court, you may. And
then I will consult with the Probation Office and impose
sentence, after considering the Guidelines and the statutory
factors, Title 18 Section 3553(a).

Does the Government wish to address the Court about
what the sentence should be?

MR. TROYER: Yes, your Honor. And I won't repeat,
obviously, everything in the sentencing memorandum, I think
we've laid out the Government's position adequately there,
and I will not recount the facts and the specifics of the
threats, because they're -- I think they speak for

themselves, for the most part.

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I think what this really boils down to is that these
were serious threats, they were threats against several
witnesses. Some of those witnesses -- some of those threats
against some of those witnesses were taken into account in
his previous sentencing, and I know that is an issue here
today, but --

THE COURT: Yes, they were taken into account. As lI
understand it, Judge McLaughlin imposed an additional four
years as a result of those threats.

MR. TROYER: Three and a half, to be specific. It
was literally 42 months. And in fact the specifics are on
Page 31 of the transcript --

THE COURT: 31 of --

MR. TROYER: Pardon me --

THE COURT: -- what?
MR. TROYER: -- I'm sorry, Page 32 of the transcript
-- I mean, yeah -- no, Page 31.

THE COURT: Wait a minute. Do I have a transcript?

MR. TROYER: No, but I did pull it, just in case
there was any question about that. And --

THE COURT: Well, do you agree it was 41 months or
whatever he -- 42 months?

MR. JOSEPH: We believe -- we thought it was 48,
your Honor.

THE COURT: Everybody said 48. I'm sort of taken

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aback.

MR. TROYER: Well, specifically, Judge McLaughlin
said when she was talking about the Guidelines, she refers to
the prosecutor and says, "I do think that 120 months is
sufficient, but not more than necessary to fulfill the
purposes of sentencing. That is 78 that I would have given
Mr. Bey for just the drugs, plus 42, and I do think that is
sufficient in light of everything I have heard."

So it seems pretty clear that she had added 42. And
42 is also consistent with what we had previously stated and
put before the court, which was that -- and as it's reflected
in her order, that it was the equivalent of three levels,
three offense levels. Two of those levels were done as a
departure and one as a variance. I think I have that right.

THE COURT: All right. So this is a 19, right?

MR. TROYER: Yes, the --

(Discussion held off the record.)

THE COURT: We're sentencing 19, Category 2, 33 to
41.

MR. TROYER: That's correct.

THE COURT: And if you went down three, it would be
a 24 to 30. So that's one way of compensating, by level
rather than month, but all right.

MR. TROYER: All right. One of the things, though,

that was not taken into account at all in the previous

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sentencing, and something for which Mr. Bey has not yet been
punished, are the threats that concern Eugene Coleman. And
of course we did point that out in the sentencing memorandum.
We --

THE COURT: You said you weren't taking that into
account at all and it shouldn't be taken into account. You
have that footnote two different places.

MR. TROYER: No, that's -- I'm sure that that's not
-- that's not correct. There's one -- there was an
additional person, an additional witness that we did not take
into account who was not cooperative, but as to Mr. Coleman,
certainly those threats were taken into -- should be taken
into account, and I'm quite confident that I've never said
anything to the contrary.

THE COURT: Well, I think we'll find out, because
I'm quite continent -- I'm quite confident you misled the
Court, if that's the case, because --

MR. TROYER: I think what your Honor might be
referring to --

THE COURT: Mr. Coleman's family was murdered --

MR. TROYER: Yes.

THE COURT: -- so it's a very serious thing.

MR. TROYER: Yes.

THE COURT: And you said he wasn't charged with it

and you didn't take it into account.

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MR. TROYER: The arson murder. The arson murders
were not taken -- he's not being accounted for. Otherwise,
he'd be at a Level 43 for the murders.

THE COURT: I understand. So what was taken into
account?

MR. TROYER: What was not taken into account, but
what should be, are the threats to Eugene Coleman. That was
specifically pled, we specifically discussed -- I
specifically discussed those threats at the guilty plea
colloquy. And the threats to Mr. Coleman are, again, quite
plain. And the fact that this Defendant not only was
involved in the threats to Mr. Coleman and Mr. Coleman's
brother, Vernon Coleman, but the fact that those threats to
witnesses continued after the arson murders I think show that
there was -- that these threats were not empty threats, they
were real threats, and that this Defendant, even after the
arson murders, when someone else might have been taken aback
and said, oh, well, I had no idea that this was going to be
such a serious thing, he still persisted in making threats to
witnesses. So those things are all, you know, extremely
important.

And the facts -- let's see, on the memorandum of
guilty plea, just for reference purposes, because your Honor
questioned our position some moments ago, on Page 4 of the

guilty plea memo, on the last paragraph, it specifically

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states in the facts of the case, "The conspiracy commenced
some time in late December, 2003, when Bey first approached
Vernon Coleman, the twin brother of witness Eugene Coleman,
on the street and told him to convince Twin, Eugene Coleman,
to not testify against Savage." And then it goes on from
there.

So the Government has always been consistent as to
the threats against Eugene Coleman and the threats -- the
witness tampering attempts.

THE COURT: So, to summarize, you're charging him
with the threats, but not with effectuating the threats?

MR. TROYER: Not with effectuating the murder,
eorrect.

THE COURT: Well, that was the threat, wasn't it, he
shouldn't testify or something would happen to his family?

MR. TROYER: In essence, correct.

THE COURT: All right.

MR. TROYER: It's a bit, but there's -- that's quite
a distinction, I mean, obviously. The Defendant --

THE COURT: I didn't say there was no distinction,
I'm trying to figure out what it is.

MR. TROYER: All right.

THE COURT: And I think you're dancing around it. I
think you want me to punish him for what happened to

Coleman --

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MR. TROYER: No, excuse me, I'm not dancing around
anything. No, not at all.

THE COURT: Well, do you agree he shouldn't be
punished for the arson murders of the Coleman --

MR. TROYER: Of course --

THE COURT: -- family?

MR. TROYER: -- yes.

THE COURT: We all know it happened, but I don't
punish him for that --

MR. TROYER: Because ——

THE COURT: -- just --

MR. TROYER: Yes.

THE COURT: -- just for threatening -- just for
telling his brother to make sure he behaved?

MR. TROYER: He should be punished for the threats,
but not for the murders.

THE COURT: Okay. Go on.

MR. TROYER: All right. In essence, I believe that
the actions taken by this Defendant merit a Guidelines
sentence, a sentence within the recommended Guidelines as
calculated by the U.S. Probation Office. I know that there
are some issues that go toward the Defendant's favor in the
sense that Judge McLaughlin had already held him accountable
for some of the threats as to the other witnesses, but I

think the threats against Mr. Coleman are serious and

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counterbalance that.

I also think there's some other issues here too as
well that counterbalance the defense request for a lower
sentence. And one of those issues is the fact that this --
the nature of these threats against incarcerated witnesses
itself. It's an especially heinous crime because these are
people who really have nothing outside of the walls except
their own family members, and these types of threats just
terrorize witnesses. They terrorize the witnesses
themselves, and they also act as a deterrent and a
terroristic deterrent toward other potential witnesses within
the prison walls. And of course it also, as the Probation
Office has noted as well, it also bears mentioning that the
Defendant committed these crimes while he was being held in
pretrial detention in the Federal Detention Center. That is
a factor that's not taken into account in the Guidelines, but

it's a factor that your Honor can and, I submit, should take

into account as well.

So we're not asking for a sentence above the
Guidelines --

THE COURT: How did the Detention Center devise a
building where you could communicate through the toilets?

MR. TROYER: This toilet bowl communication is -- it
is a devious construction that has been made by the -- I

doubt that anybody who devised that building thought ahead of

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time that people might actually scoop out the water in the
toilets and use that as a communication device, but that is
in fact what happens within the Detention Center these days.

THE COURT: Well, as a matter of curiosity, once it
was discovered, isn't there anything you can do about it?
That seems as great a threat to public safety as anything
else we've talked about.

MR. TROYER: I really don't know the answer to that
question. I know it's been a concern, I know it's been a
problem. I don't, frankly, think there is much that can be
done, that I know of anyhow.

THE COURT: Well, of course we wouldn't expect you
to know --

MR. TROYER: I'm not a plumber.

THE COURT: -- it would be architects or engineers.

MR. TROYER: Right.

THE COURT: But it's certainly a public safety
concern that someone ought to be worried about.

MR. TROYER: It is.

THE COURT: All right. Is that all?

MR. TROYER: Essentially, yes, your Honor. We're
simply -- what we're asking the Court to do is to make -- and
I know -- I think what the whole argument today is going to
come down to is whether his sentence should be concurrent or

whether it should be consecutive, or at least partially

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consecutive.

I will submit to you, your Honor, that this
Defendant who sits before you, it's 2010, he's 41 years old,
his criminal history dates back or at least is documented
back to 1985. This Defendant has been a criminal basically
his entire life, I would say adult life, but it even started
before that. There is no -- there is nothing this Court can
give this Defendant, there's no amount or degree of verbal
chastisement that's going to affect this Defendant at all.
The only thing this Court can give this Defendant that's
going to mean anything to the Defendant himself is time. And
if this Court gives concurrent time, it's essentially
tantamount to no sentence at all. Another conviction isn't
going to mean anything to Dawud Bey, another, you know, $100
on the special assessment isn't going to mean anything to
Dawud Bey --

THE COURT: Oh, that reminds me.

MR. TROYER: Yes.

THE COURT: Under the guilty plea, he was supposed
to pay that at the time of sentencing; has he?

MR. TROYER: I don't believe -- I'm seeing an
indication from someone --

MR. JOSEPH: He has not, your Honor.

MR. TROYER: -- that he has not yet paid that.

THE COURT: How do we take account of that? The

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guilty plea was very specific.

MR. JOSEPH: Right now, he has -- I'm sorry, your
Honor. Right now, he does not have the financial means with
which to do it, because he's incarcerated, your Honor, and
his family doesn't have the money to pay it.

THE COURT: Isn't he working in prison?

THE DEFENDANT: Not at FDC.

MR. JOSEPH: Not -- he's been at the FDC, your
Honor, he can't work at the FDC -- well, he hasn't been
working at the FDC.

THE COURT: All right. I would caution you about
putting those things in guilty plea agreements when there's
no possibility that the Defendant can comply. It happens a
lot with the 5Kls where someone agrees to pay, everybody
knows they can't pay, the Government has a reason to deny the
5K1 before they give it. So, all right, I will make a
finding that he's unable to pay the $100 at this time, but he
still owes it.

MR. JOSEPH: Thank you, your Honor.

THE COURT: And the thing that's holding him there
is the fact that he hasn't been sentenced.

MR. JOSEPH: Correct.

THE COURT: So now that he'll be sentenced, he can
be moved out to a regular correctional institution where he

can get a job; isn't that correct?

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MR. JOSEPH: That is correct, your Honor.

THE COURT: All right.

MR. TROYER: I would just finish up or summarize by
saying that this Defendant -- and I've read his previous
sentencing transcript and he was very eloquent at his last
sentencing. He talked about certain great and wonderful
things he had done in the community and what he intended to
do in the community in the future. I submit that that is
more than counterbalanced by his criminal actions that he's
undertaken. And I think his own words are the words that
really show his true self, and those words deal with his
intent for committing -- you know, committing future crimes.
And in his own words Mr. Bey said, he threatened to, quote,
"kill every fucking rat," end quote, that he knows upon his
release from prison. I think this is -- you know, this shows
what Mr. Bey is really about, this shows that --

THE COURT: Let's hope not.

MR. TROYER: Well, hope springs eternal, as they
say, but I --

THE COURT: So far we only sentence people for what
they've already done, not what they intend to do in the
future.

MR. TROYER: Right. And I think, taking that into
account, we also have to take into account obviously his

criminal history. I think we do take into account, though,

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his dangerousness to society and we punish those actions.
And I think, as a matter of punishment, as a matter of
specific deterrence to Mr. Bey, and even as a matter of some
general deterrence to others who might threaten witnesses,
particularly incarcerated witnesses, it's important that a
consecutive sentence be meted out to Mr. Bey.

THE COURT: Thank you.

MR. TROYER: Thank you.

THE COURT: Counsel?

MR. JOSEPH: Thank you, your Honor.

Your Honor, I'd like to break up my discussion with
you into two parts. The first part, I'd like to address
briefly some of what Mr. Troyer has discussed today, and some
of what the Government has done thus far in this case. And
then the second part is I'd like to address also Mr. Troyer's
points about Mr. Bey's character, and he's going -- Mr. Bey
can more eloquently describe his character and describe what
he has done since he's been sentenced for the initial crime.

But I think that it's important to note and I think
it's being glossed over here that Mr. Bey is not here before
you with these threats having been made a year ago, two years
ago, and you are now -- he is now being sentenced for the
first time and the Court is now addressing for the first time
what has taken place. The genesis of these threats date back

to the year 2003. And it's interesting to note that the one

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aspect or the primary aspect that Mr. Troyer focused on today
was something that happened with the Coleman twins, and this
thing that happened with the Coleman twins occurred in 2003.
We are now at 2010. Now, in 2003, Mr. Bey was not in the
Federal Detention Center here, he was not in Federal custody,
he had not been arrested, or nothing was going on in 2003.
But these threats, the Government contends and Mr. Bey pled
guilty, occurred in 2003.

Now, if we fast forward, we get to 2004, where Mr.
Bey pled guilty to Judge McLaughlin for the underlying drug
offense. And then we fast forward to 2006, where --

THE COURT: I wonder if it wouldn't be fairer to you
and to the Government if I shared with you some of the
information I obtained from the Bureau of mud sons. At the
present time, Mr. Bey is due to be released July 9th, 2013.
It would have been a lot earlier if he hasn't lost 179 days
of his good time for whatever his misbehavior is in prison.
There is no sentence within the Guidelines that would amount
to any additional time for Mr. Bey. In other words, the
Guidelines are 33 to 41, even a 41-month sentence would --
concurrent sentence would mean that he would serve no
additional time for this offense. He would still get out
July 9th, 2013.

I think that's everything I learned that I haven't

told -- that I haven't shared with you.

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MR. JOSEPH: Thank you, your Honor, thank you. And
that sort of dovetails with the point that I'm making or that
I'm attempting to make to your Honor, and that is that, at
the time of his sentencing, the Government -- at his original
sentencing in front of Judge McLaughlin, the Government had
all the information that they brought up at the time of that
sentencing that they have now included in the indictment for
which we are currently here, all of this information,
including the information that the Government brings to your
attention today to suggest to you that Mr. Bey hasn't been
punished for. But what we have is the Government -- and I'm
not putting any nefarious intent on the Government's behalf,
and I think this dovetails with what I argued during the
motion to dismiss that I filed -- and I understood that there
was a -- there's a Supreme Court case that was right in front
of and blocking my motion to dismiss the indictment -- I
understand that and I understand that your Honor's hands were
tied, even if you wanted -- even if you were inclined to
dismiss the indictment, you couldn't do it because of the
Supreme Court case. I understand that fully, I get that
fully.

But what we have now to look at is not so much the
Supreme Court case that's standing in front of us, but we
need to look at what has occurred with Mr. Bey and what it is

that the Government has done. And it seems like it's a form

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of Chinese water torture, if you would, that has been going
on here. That is, the Government has had this body of
information from 2003 and they chose to bring a little bit of
it in front of Judge McLaughlin for the purpose of getting an
enhancement, and they were successful in doing that. They
got the enhancement with Judge McLaughlin and whether it's 42
or 48 months -- and I concede, it was 40 -- if we listen --
if we read the words of the transcript, he received an
additional 42 months for what the Government brought to Judge
McLaughlin at that time.

Then the Government brings you an indictment in this
case and they suggest that Mr. Bey be punished for threats
that occurred as early as 2003, going through 2004, while
he's being held, they indict him for that. And at the time
of his plea of guilty they make reference to these threats to
the Colemans, which occurred in 2003. Now, these are things
they clearly could have brought to Judge McLaughlin's
attention at the time of the enhancement, but I would suggest
that had they done that, the threats to the Colemans are no
different than the other threats that Judge McLaughlin
considered and so that time would have been along with that.
However, they've waited now to bring it to your attention now
in an effort to get you to go above and beyond what the
defense is asking you to do.

What the defense is asking you to do is to look at

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-- and I haven't brought any witnesses in for you because at
the initial sentence Mr. Bey spoke eloquently and he had, I
believe, witnesses speak eloquently to what he has done in
the community. That's not what I want you to consider, your
Honor. What I want you to consider, your Honor, is what he
has done since he has been incarcerated.

Now, at the time of his sentencing, Judge McLaughlin
asked Mr. Bey to do two things. Judge McLaughlin asked Mr.
Bey to get his high school GED and Judge McLaughlin asked Mr.
Bey to enter into a drug treatment program. Both of those
things, both of those situations existed prior to his being
sentenced by Judge McLaughlin, and Judge McLaughlin correctly
noted that those were two things that were standing in the
way of Mr. Bey doing everything that he could to be all he
could be, essentially. And I hate to use -- quote the term
used about the Army, but that's essentially what it was and
Judge McLaughlin realized that. So what did Mr. Bey do? Mr.
Bey did that. He got his GED while he was in prison, Mr. Bey
entered into and successfully completed a drug treatment
program while he was in prison. Mr. Bey entered into and
successfully completed numerous other programs while he was
in prison, and he'll speak to those programs. These are all
things he did to follow Judge McLaughlin's directives and to
go above and beyond Judge McLaughlin's directives. These are

all things which I believe speak volumes to the person that

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Mr. Bey has become.

Now, Mr. Bey didn't come before you at the time of
his sentencing and say, well, your Honor, you know, I didn't
do these things, I don't deserve to be punished for these
things, he didn't do that and I don't suspect he's going to
do that now. He's going to stand in front of you and tell
you that, yes, he did these things that the Government
charged him with and accused him with, but he's also going to
tell you, or I'm going to tell you for him, that he has been
punished for those things already. And I realize that there
are certain -- there are not certain -- there are legal
reasons that the Government is allowed to now bring these
charges against him and I don't dispute that, I don't dispute
that at all. I'm not going to argue to you that the
Government did something wrong by bringing these charges,
what I'm going to argue and what I'm going to try to plead to
is your sense of fairness, Judge. Mr. Bey has paid dearly
for the crimes that the Government now says he commits.

Now, the Government wants to make reference to these
threats to Mr. Coleman, but these threats existed in 2003,
nothing different has happened since then. It's not like
after he was sentenced by Judge McLaughlin he went out and
threatened somebody else and there's new threats or anything
like that. That's what -- these existed in 2003, they

existed in 2006 when he was sentenced, and these threats

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existed at the time that he pled guilty to you. He's a
different person now, he's a different person. He has paid
dearly for what he has done, he paid dearly for and
appropriately -- he's not going to tell you that his original
sentence was inappropriate -- he paid appropriately for the
underlying drug offense. He would have received a sentence
in the 70-plus-month range, he's already served that
sentence. He's been in prison for six years now, he's been
in prison for 72 months now. And so if it wasn't over --
let's assume for the sake of argument Judge McLaughlin did
give him 78 months for the original drug offense, he'd be
coming up to the end of that now and it would be over, but
now we're going a step past that. He is now going to serve,
as you correctly noted, additional time for the threats that
were made. He's been punished for it. He's not asking for a
pass, he's not asking you to disregard what he did, he's not
asking you to do that, he's just asking you, from a sense of
fundamental fairness, not to punish him again for what he's
already been punished for, your Honor.

THE COURT: Well, isn't the question what he's been
punished for? And I wonder if the Government would want to
respond. If the Sentencing Guidelines are 33 to 41 months
and you want me to impose a sentence within the Guidelines,
but Judge McLaughlin has already imposed an extra 42 months,

which is more than the Guidelines, how can I impose a

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consecutive sentence in the interest of fairness?

MR. TROYER: Well, you can take into account the
actions that were not taken into account by Judge McLaughlin,
which is specifically the threats to Eugene Coleman --

THE COURT: And you think --

MR. TROYER: -- and his family.

THE COURT: -- if she heard about the threats to
Eugene Coleman she might have imposed an even higher
sentence, is that your position?

MR. TROYER: I think so, and here's why. And this
also addresses the point made by defense counsel, is that
while it has taken some time from 2004 or so, thereabouts,
and then 2006 when he was sentenced, to 2009 when Mr. Bey was
indicted, I think the reasons for the delay are obvious.
There's a much larger case that was being presented, and a
much larger case that was indicted and being investigated at
the same time that these matters were being investigated, and
those matters were not ripe to be brought before any court,
be it Judge McLaughlin or your Honor or any other judge, back
then and those matters were only ripe to be brought for
indictment once the larger case was indicted. Clearly, we
would not want to take some of the same witnesses that we
would present in the larger RICO murder case and present
those in a prior case in front of a different tribunal, it

wouldn't make sense from an investigative standpoint. 50

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that's why it was done.

I think it certainly makes sense for the Court to
take into account now those matters which were not taken into
account before, especially for such a heinous crime. And
witness tampering, you know, may not be the most heinous
crime around, but these are not just idle threats. It's not
boasting, it's not puffing, it's not bragging, it's not just
prison talk, these were threats made to somebody and then
those threats were carried out, not by this Defendant, but
they were carried out by his coconspirator and others, as
charged in the other indictment. Those threats -- and those
six people were actually murdered. And then after they were
murdered, he still continued to threaten witnesses, and I
think this is something that the Court can take into account.
Those --

THE COURT: There were threats after Judge
McLaughlin's sentence?

MR. TROYER: No, there were threats after the
murders. The murders occur October 9th, 2004, so there were
threats charged in this indictment -- most of the threats
that he's charged with occur in -- after the murders occur,
because it was -- most of those threats are captured by a
wiretap, a court-authorized interception order that is put
into place only after the arson murders occur. Most of those

threats are captured in November, December of 2004, and even

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into January of 2005, and that's -- those are the threats
that are recounted in the indictment.

So he was still under investigation back then for
some of these other threats and those threats are now being
brought before you, so I believe they can be taken into
account. The Court is certainly not bound to take those 42
months and just say minus 42 from the current sentence and
then leave it at that, because that would be to ignore all
the threats as to -- that occurred as to Eugene Coleman.

And as Counsel also pointed out, Mr. Bey was indeed
out. Some of these threats, the first threats occurred when
he was still out on the street, when he himself approached
Vernon Coleman and made the threat to Vernon Coleman to have
Eugene Coleman change his testimony or not -- or rather not
testify at all, and then those threats continued after both
Mr. Bey and Mr. Savage were locked up in the FDC. So I think
that your Honor can take those into account and your Honor
can certainly after -- even if your Honor were to take off
the 42 months that Judge McLaughlin gave, you could certainly
give additional time. And whatever additional time, even if
it's less than the Guidelines, even if it's less -- something
considerably less than 33 months, that time should be
consecutive.

MR. JOSEPH: Just very, very briefly, your Honor.

THE COURT: You don't have to be very, very, very

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brief, just say what --
MR. JOSEPH: Okay, I'm sorry --
THE COURT: -- is important.
MR. JOSEPH: -- your Honor, but I feel constrained

to respond to Mr. Troyer again.

THE COURT: I would like you to.

MR. JOSEPH: Because, I mean, I've really held back
from saying this, Judge, but this is clear manipulation by
the Government, your Honor, it's clear and patent manipu --
it can't be looked at any other way. And I've tried to give
them the benefit of every doubt, but I can't do it, and when
we have Mr. Troyer arguing so vociferously for you to punish
Mr. Bey for something that happened in 2003 and they had this
information in 2003, and he says that the key time is 2004
when this arson took place. And, again, he keeps mentioning
the arson, but he keeps telling us that Mr. Bey had nothing
to do with the arson. Well, then why are we mentioning the
arson if Mr. Bey had nothing to do with the arson? He knows
how volatile that is, he knows how horrible that was. But he
also knows that Mr. Bey had nothing to do with it, but he has
no choice but to keep bringing it up to you, your Honor.

And the point I'm trying to make, your Honor, is
that he had this information in 2006 at the time of Mr. Bey's
original sentencing, he didn't bring it to the judge, for

whatever reason he didn't bring it to the judge, and now he

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has the audacity to tell you that he thinks -- you don't have
Judge McLaughlin here -- he thinks that this would have made

a difference to Judge McLaughlin and she would have given him
more time. We can't do things based on speculation. The
Government had an obligation to bring everything -- just from
a sense of fairness, to bring everything together and throw
it at Mr. Bey at one time, but they're doing it bit by bit by
bit. And I would suggest --

THE COURT: Did the murders come up at all at the
trial before Judge McLaughlin?

MR. JOSEPH: They were referenced, just like they're
being referenced now. They can't help themselves, they keep
referencing them, just like they're being referenced now to
you. And they keep -- and the thing is, when you look at
whatever document is filed by the Government or anyone else,
you have arson, murder, murder, murder, and then you have a
small footnote at the bottom, oh, but by the way, Mr. Bey had
nothing to do with these arsons, murder, murder, murder.
Well, yes, they were brought up, your Honor, and they're
going to continue to be brought up. And there's no evidence
whatsoever, there's not a scintilla of evidence that Mr. Bey
had anything to do with it, but they're continually trying to
punish him for something that he had nothing to do with.

And that's why I keep saying that we have

manipulation here by the Government, your Honor. For them to

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bring something that happened in 2003 to your attention today
is just patently unfair, Judge. And I believe that you
should follow our request, our plea, that you look at this
fairly and sentence him in accordance with what has already
been done, and to run the time consecutively, your Honor --
concurrently, I'm sorry.

THE COURT: Did you wish to address the Court, Mr.
Bey?

THE DEFENDANT: Yes, ma'am.

THE COURT: You may do so.

THE DEFENDANT: Thank you. Can I stand up, do you
want me to stand up?

THE COURT: As you wish.

THE DEFENDANT: Here or right here?

THE COURT: Whichever you're more comfortable.

THE DEFENDANT: Right in front. Your Honor, [I
thought of many things that I wanted to say, but at the end
of the day it was my heart that spoke the loudest to me, and
today I decided to allow the sincerity of my heart raise
above my intellect.

I stand here today in reflection of the history of
my life. I see a person who made mistakes, but I always was
willing to seek repentance for my actions. I stand here not
willing to beat myself down with guilt, because I also stand

here with a good understanding of the laws of attraction. We

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live in a universe of absolute laws, a world that operates on
every level and in every detail with absolute precision.
Therefore, I know that everything happens for a reason.

As I continue to grow, I pray that I will gain a
better understanding of the fundamental truth of the laws of
attraction. I believe that everything I have been through in
my life has allowed me to grow and develop into the man that
I am today. The things that I experienced throughout this
investigation has been a positive influence over the choices
and decisions that I will make in the future. Every day I
work hard to prepare myself for my reentry back into society.
It's crystal clear that my past is no longer part of my
future.

Getting my GED, as I did in 2009, will afford me the
opportunity to make a smooth transition back into my
community. Taking part in the nonviolence programs has
helped me develop a better -- to develop better conflict and
resolution skills. Every day I read and study at the
marketplace to see exactly where I fit in with all of the
opportunities that I see in the business world. The pre-
release class at Schuylkill FCI taught me better ways to
navigate my family and I to a better financial future.
Education has given me more confidence and now I know what to
do and exactly how to make better decisions.

One of the best decisions I made was starting Point

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Breeze Youth Development Corporation. This youth and urban
development program has a socially redeemable concept that
has helped hundreds of children to get the support from the
community through our basketball and after-school programs.
Since becoming more academically astute, I will be able to
take Point Breeze Youth Development to a higher level of
community involvement. For my involvement with the Point
Breeze Youth Development, I was able to help a lot of young
inmates during my six years of incarceration to refocus and
get prepared for their reentry back into society.

Your Honor, I'm pointing these achievements out not
to pat myself on the back, but only because they should speak
volumes to my overall progress towards rehabilitation. I
still have some prison time left and by then, 2013, I will be
cleansed of all the residue of my past.

In closing, I think it's important, your Honor, that
you know that at no time did I not want to accept my
responsibility for my actions. I have great respect for the
job that Mr. Troyer has done throughout this investigation.
Nonetheless, some of the evidence he introduced at the plea
hearing was shocking, to say the very least. For one, in
2003, I had no idea that I was going to be indicted, nor was
Mr. Savage indicted at the time. Therefore, it was no reason
for me to threaten or approach anyone, let alone show anyone

a gun to make my point. So again, this information was new

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to me and it's outright -- and it's an outright lie.

In addition, I wanted to make certain I plead to the
right count of this indictment, because as you are well
aware, your Honor, the PSI Probation Officer could have asked
for enhancements based upon the severity of the threats. So
at no time did I not want to accept my responsibility. You,
your Honor, has made me feel comfortable that I could trust
you to make the final decision in this chapter of my life.

Thanks for giving me the opportunity to speak.

THE COURT: Thank you. I wanted to raise with you

the financial matters discussed at Paragraph 81, "Financial
condition/ability to pay." Mr. Bey has had a bankruptcy
before his -- dismissed on May lst, 2005. He owns some

property, three properties. What is the position of the
Government as to his ability to pay a fine? There's no
restitution. Do you have a position on the fine?

MR. TROYER: Just some short time ago it was
represented that he didn't have $100 to pay for a special
assessment. I don't --

THE COURT: Well, that's cash, property can be sold.

MR. TROYER: Right.

THE COURT: I don't know. Does he still own
properties?

MR. JOSEPH: Yes, your Honor.

THE COURT: What, the rental income is being used to

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support his family, is that it?

THE DEFENDANT: Yes.

MR. JOSEPH: Yes, your Honor.

MR. TROYER: To answer the Court's question, I'm
certainly in favor of a fine. I don't know how much of an
effect it would have on Mr. Bey, I doubt that it would be
paid, but -- quite honestly, but I certainly don't have any

objection to the Court imposing one.

THE COURT: Well --

MR. JOSEPH: And I think he's currently paying a
fine that was imposed by Judge McLaughlin as well, I think
there's a 2,000 --

THE COURT: Judge McLaughlin imposed a $2500 fine.

MR. JOSEPH: I think it's until --

THE COURT: But he doesn't have a job in prison. If
he goes to a regular facility, he'll earn at least $300 a
year, and usually half of it is paid towards your financial
responsibilities under the statutes.

MR. JOSEPH: And he's paid 500 down from the 2500,
your Honor.

THE COURT: Okay. I would like to speak to the
Probation Officer, please. And, Ms. Ward -- oh, are there
any conditions to his supervised release that Judge
McLaughlin imposed? In other words, when he gets out, '13,

he has, what, two or three years of supervised release?

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MS. HUNT: Your Honor, it's three years of
supervised release and --

THE COURT: Are there special conditions?

MS. HUNT: I have a $2,000 fine, not a $2500 fine.

THE COURT: Oh, well --

MR. JOSEPH: I believe Mr. Bey has --

THE DEFENDANT: It's five years --

MR. JOSEPH: -- has five years —-

THE DEFENDANT: -- of supervised release.

THE COURT: I can't hear you.

MR. JOSEPH: I'm sorry. I believe it's -- Mr. Bey
is indicating that he believes it's five years supervised
release that was ordered by Judge McLaughlin.

THE COURT: Yeah, but what I want to know is are
there special conditions of the supervised release -~

MR. JOSEPH: Oh, I understand, your Honor.

THE COURT: -- beyond the standard? Usually --

MR. JOSEPH: I don't believe so, your Honor.

THE COURT: -- you can't have a gun and you can't
travel outside the district, and so on and so forth, and you
have to report. But sometimes there are conditions like you
can't have a credit card or you can't have a passport, and I
don't know if there are special conditions.

MS. HUNT: No, it's just the fine, your Honor, and

the Defendant was ordered to pay it while in custody and then

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once out on supervised release.
THE COURT: All right.
MS. HUNT: He doesn't have any personal problems
like substance abuse or anything like that.
THE COURT: Well, he's -- while he's been in prison,

he's had some alcoholic rehabilitation; isn't that correct?

MR. JOSEPH: Alcohol and drug rehabilitation, your
Honor.

THE COURT: Okay, so that he must have some personal
problems.

MS. HUNT: The Defendant has participated in
numerous classes and the one that he participated in is the
40-hour general education classes for substance use and
abuse.

THE COURT: Yes. Is there any -- I want to be clear
about what he's been doing while he's been in prison. He's
taken the 40-hour special --

MR. JOSEPH: Yes, your Honor.

THE COURT: And anything else?

MR. JOSEPH: Yes, he's taken several other classes,
and I believe that --

THE COURT: Would you tell me about that?

MR. JOSEPH: -- it was referenced -- may he or --—

THE COURT: Yes, please.

MR. JOSEPH: Thank you, your Honor.

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THE DEFENDANT: Well, as I mentioned, your Honor, I
completed the drug program, as you know --

THE COURT: Yes.

THE DEFENDANT: -- and I completed the non -- Your
Choice, it's a nonviolence program. And I also taught a
public speaking class and I participated —-

THE COURT: You took it or you taught it?

THE DEFENDANT: Excuse me? I taught it, here at FDC
Philadelphia while I was here, within the last five months.
So there's been a lot of programs that I just --

THE COURT: Where have you been in custody during
the --

THE DEFENDANT: At first I went to Hazelton USP,
then I went to Schuylkill FCI.

THE COURT: Didn't you have a job there?

THE DEFENDANT: Yeah, I had a job, but I was getting
paid like $5 --

THE COURT: Well, they don't pay you as if you were
not in prison --

THE DEFENDANT: You're right.

THE COURT: -- the pay is low. But --

THE DEFENDANT: They paid me $5.

THE COURT: -- I thought you said you didn't have
any job because you were over here at the Detention Center

the whole time.

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THE DEFENDANT: Exactly.

THE COURT: For seven years?

THE DEFENDANT: No. I was incarcerated for seven
years, but since this indictment I've been back down here at
FDC Philadelphia.

THE COURT: Well, I understand that, but I was
trying to find out when you were in a place like Schuylkill,
did you have a job --

THE DEFENDANT: Yes.

THE COURT: -- and the answer is yes.

THE DEFENDANT: I worked in the kitchen and in the
laundry.

THE COURT: All right. Have you been any place
other than Schuylkill?

THE DEFENDANT: USP Hazelton, which was my first
stop after --

THE COURT: Which was that?

THE DEFENDANT: USP Hazelton --

THE COURT: Ah, okay.

THE DEFENDANT: -- which is in West Virginia.

THE COURT: Yeah.

THE DEFENDANT: That was the first institution that
I went to, and then I went to Schuylkill FCI. And I never
had a job at --

THE COURT: Hazelton?

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DEFENDANT: -- at Hazelton.

COURT: Because you were only there temporarily

DEFENDANT: Exactly.

COURT: They never take you directly where

DEFENDANT: Right.

COURT: Have they talked to you about any

release planning at all?

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DEFENDANT: Well, I've done -- also I've done

the pre-release class that teach you about how to set up your

resumes and how to do job interviews and different things to

that extent.
classes too.

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So I've also participated in the pre-release

COURT: Is it now -- do you know, is it the

practice of the prisons now to routinely have halfway house

release?
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months early

DEFENDANT: Well --

COURT: At one point, they would let you out six

to a halfway house.

THE DEFENDANT: Yes.

THE COURT: Are they still doing that?

THE DEFENDANT: Well, at Schuylkill it's been a
problem, because a lot of times -- I guess Schuylkill is like
a -- almost like a transit center, so many people coming and

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going so much there, it's been hard for the administration, I
believe, just giving them the benefit of the doubt, to
accommodate people and get them in the halfway house, for
them to be able to do the six-month halfway house. They've
been giving guys 20 days, 40 days, sometimes you get three
months. You're real lucky if you get six months halfway
house at this particular institution.

THE COURT: Thank you.

(Discussion held off the record.)

THE COURT: Mr. Bey, it's never easy to impose
sentence on another human being, but it's a very serious
matter because I have to, as you mentioned, be fair to you,
but I have to protect the public as well. We've talked about
the Guidelines. And you have -- in the seven years you've
been prison, you've done an awful lot of good things.

They're in the presentence report, it's much more than you
said. You've taken all sorts of courses and done a lot to
improve yourself. But I can't account for why you've lost
179 days of good time. When I called the prison, I'll
confess to you, that was the first thing they told me. I
guess they sensed that I wanted to be fair and give you a
break, if I could under the law, and they don't have you
tagged as a law-abiding citizen yet.

So that I think you have to consider that, and

that's why I asked about the conditions of supervision. When

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you get out, you have a period of supervised release under
the law, it's for this two to three years, but you have five
years for Judge McLaughlin. But I was trying to think of
what conditions would help you lead a law-abiding life,
because it's obvious that, if you wanted to, you could. You
have a lot of skills that enable you to be successful in
business, but the kind of business we want you to be
successful at is not drug dealing.

THE DEFENDANT: Yes, your Honor.

THE COURT: And you have what we like to call anger-
management problems. The first thing you want to do with
someone that you think is going to hurt you is kill them, or
threaten them or threaten their families. That's not what
the law considers law-abiding.

And we have no dispute about the Sentencing
Guidelines, they're advisory. Before I can impose a
sentence, I have to consider not just those, but I have to
consider other factors. The first is the nature and
circumstance of the offense. And I want to agree with the
Government on that, these are very serious, because it's no
secret that we have a problem in Philadelphia with witnesses
being unwilling to testify. They're scared to death. They
don't want their families killed, they don't want to be
killed. And so we have people who are cool, as you seem to

call it; in other words, people who won't cooperate with the

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police, people who let criminals get away with it because
they're afraid to say who did it or they saw it. It is one
of our most serious problems in Philadelphia and it means
that people are not secure in their homes. lLaw-abiding
people are afraid if they get shot no one will see that the
people who did it get their just desserts. So it's one of
the most serious things you can do is to threaten people who
will cooperate with the police, and I agree with the
Government.

On the other hand, I consider your history and your
characteristics, and the possibility that you could be a good
citizen, if you wanted to, and the fact that you've been
trying pretty hard to show that in the seven years that
you've been in jail. You have a family that you care for and
maybe the thought that you don't want to go back to prison
might convince you to behave yourself.

And I also think that you have been punished in part
for these threats by Judge McLaughlin's shock at what you did
and that's -- I feel the same. When I read this indictment,
I was equally shocked. So there was nothing wrong with her
doing what she did, she didn't know you were going to be re-
indicted for the threats to Coleman and all the others. So
that the fact that she imposed an extra sentence on you has
to be taken into account, you have to get a break for that,

and I've been considering that very seriously.

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So I have to consider the need for the sentence I
impose to reflect the seriousness of the offense, to promote
respect for the law, because if you get away with it other
people figure, well, what's -- you know, why shouldn't I?

And there isn't -- I don't think that the sentence will deter
you; it certainly punishes you for what you did, but there is
what we call general deterrence. The fact that you go to
jail for a while for something occasionally keeps other
people from doing it. Although I'll confess to you, I've
been a Judge over 30 years, and it's rare to find someone
coming up for sentence that isn't very apologetic, very sorry
for what they did, very sorry for what they've done to their
family and their children, and I wonder, why don't they think
of that before they do it? And I haven't figured out the
answer, but I'm still trying.

Certainly, keeping you in prison will protect the
public from your doing any further crimes, maybe, although
you showed the capacity to threaten even while you were in
prison. So I'm not sure that keeping you in prison does it.
It's getting you not to want to commit a crime anymore and
we're trying.

You've had quite a bit of educational and vocational
training, but you're a person with a lot of skills and
ability. You were able to acquire properties and manage

them, and what we need to do is see that you have an

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incentive to have a legitimate business and to stay away from
drugs. So I don't think we need to keep you in prison to
have more educational or vocational training. Thank
goodness, you don't need medical care.

I've certainly considered the kind of sentences
available. And when you're on supervised release, my
supervised release for the three years, that will run
concurrent with Judge McLaughlin, but I will give the
Probation Office the authority to recommend to me that you
have mental health treatment, if you need it. I'm not -- at
this point, we're not sure, but we'll see that you have an
evaluation, do what we can to help you, if you need the help.

I'm not going to impose at this point house arrest
or community service, because I think that you're impelled to
help the community without my forcing it. But if you get in
trouble, if you don't get a legitimate job, I will keep you
-- I'll have you do community service for 20 hours a week, so
that you don't have idle time to figure out how to go back
into the drug business.

I think that I've considered the policy statements
of the Sentencing Commission and the purpose of the
Guidelines. In particular, I've considered what is the least
severe sentence that will accomplish what I think needs to be
accomplished.

So I'm going to impose a sentence at the lower part

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of the Guidelines, 36 months, but I'm not going to make it
completely concurrent and I'm not going to make it completely
consecutive. I will split it in half, and I'll have 18
months concurrent, 18 months consecutive. And that will be
less than 18 months if you can bring yourself to earn more
good time, which so far you've had a lot of difficulty doing.
But I think that this will inspire you to earn that good
time, because that will lessen the additional time you have
to spend after July of 2013.

So, pursuant to the Sentencing Reform Act of 1984,
it's the judgment of the Court that the Defendant, Dawud Bey,
is committed to the custody of the Bureau of Prisons, to be
imposed for a term of 36 months. The term of the -- half the
term of the imprisonment imposed by this judgment should run
concurrently with the Defendant's term of imprisonment
pursuant to the judgment in Docket Number 04-269-05 of the
EFastern District of Pennsylvania and half shall be
consecutive.

Upon release from imprisonment, you will be placed
on supervised release for a term of three years, which will
run concurrent with the sentence mentioned above.

Within 72 hours of release from the custody of the
Bureau of Prisons, the Defendant shall report in person to
the Probation Office in the district to which the Defendant

is released.

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While on supervised release, you can't commit
another Federal, state or local crime. You're prohibited
from possessing a firearm, that's a separate felony, and you
can't possess an illegal controlled substance. You shall
comply with other standard conditions adopted by this Court,
and you must submit to one drug test within 15 days of the
beginning of supervised release and at least two tests
thereafter, as determined by the Probation Office.

In addition, you will comply with the following
special conditions. You will cooperate in the collection of
DNA, as directed by the Probation Office, and you will submit
to a mental health evaluation and participate in such therapy
as the Probation Office recommends, with approval of the
Court. You can appeal that to the Court, if you wish.

You should be employed, that's a condition of
supervised release. And if you're not employed or going to
school, then you have to perform community service for 20
hours a week.

You'll pay the United States a fine of $2,000. I
find you lack the ability to pay a fine within the Guideline
range, and I'll waive interest in this case. The fine is due
immediately, together with the $100 special assessment you
were supposed to have already paid. I recommend you
participate in the Bureau of Prisons Inmate Financial

Responsibility Program, because that gets you a higher wage.

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And you should provide a minimum payment of $25 a quarter
towards the fine. If the fine isn't paid prior to the
beginning of your supervised release, you satisfy the amount
in monthly installments of not less than $25, to commence 30
days after your release from confinement.

After studying your financial situation and
providing a report to the Court, the report will set the
exact amount of the monthly payment that you're financially
able to make, taking into consideration your obligation to
your family. If you haven't paid the fine, you have to
notify the United States Attorney for this District within 30
days of any change of mailing address or residence.

And you can appeal this sentence to the limit
provided in your guilty plea agreement and, if you can't pay
the appellate fee or your lawyer -- are you retained or
appointed?

MR. JOSEPH: Retained, your Honor.

THE COURT: You're retained. Well, he'll file the
notice or the Clerk would, but as I think of it, you can only
appeal -- if the Government appeals, you can appeal anything,
but if the Government doesn't appeal, you -- my sentence is
not above the Guidelines, so you could only appeal if you
think the sentence is unreasonable.

You look puzzled or had some question?

MR. JOSEPH: No, your Honor, I have no --

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THE COURT: All right. Do you have any question?

THE DEFENDANT: No.

THE COURT: Does the Government have any question?

MR. TROYER: No, your Honor.

THE COURT: All right, thank you then.

MR. JOSEPH: Thank you, your Honor.

THE COURT: When you're on supervision, the
Probation Office will provide a report to the Court every
three months and, if I'm still here, I'll read it and
consider it, and have conferences with you occasionally to be
sure things are going well for you. We really want you to
succeed --

THE DEFENDANT: Okay, thank you.

THE COURT: -- on your reentry.

THE DEFENDANT: Thank you.

THE COURT: Yes? Do you want to dismiss the --
aren't you going to dismiss Counts --

MR. TROYER: That's precisely what I was about to do
actually --

THE COURT: Yes.

MR. TROYER: -- yes. Pursuant to the plea
agreement, I've prepared an order, I've showed it to Counsel
and to the Probation Officer, and I'll electronically file
the motion when I return to the office.

THE COURT: That's all the counts except Count 1 are

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dismissed?

MR. JOSEPH: Yes, your Honor.

MR. TROYER: 2, 3, 4 and 5, right.

THE COURT: As was agreed at the time you entered
your plea. I'll sign that order now.

All right. Thank you. And thank you to all the
people who came to observe --

MR. JOSEPH: Thank you, your Honor.

THE COURT: -- for being here.

MR. JOSEPH: Good afternoon, your Honor.

THE COURT: Good afternoon.

MR. TROYER: Good afternoon, your Honor.

MS. SYKES: Thank you, your Honor.

(Proceedings adjourned at 3:26 o'clock p.m.)

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CERTIFICATION

I hereby certify that the foregoing is a correct
transcript from the electronic sound recording of the

proceedings in the above-entitled matter.

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